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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS


 LEISURE PROPERTIES, LCC,
 Doing Business As “Crownline Boats,”
 Plaintiff,
                                                                   Case No. 20–CV–00385–JPG
 v.

 AMY TURNER,
 Defendant.

                                         JUDGMENT

       This matter having come before the Court, and the Court having granted Plaintiff Leisure

Properties, LLC’s request for voluntary dismissal,

       IT IS HEREBY ORDERED AND ADJUDGED that the claims against Defendant Amy

Turner are DISMISSED WITH PREJUDICE.



Dated: Friday, October 30, 2020                      MARGARET M. ROBERTIE
                                                     CLERK OF COURT

                                                     s/Tina Gray, Deputy Clerk

Approved by: s/J. Phil Gilbert
            J. PHIL GILBERT
            UNITED STATES DISTRICT JUDGE
